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                                            United States District Court
                                            Eastern District of California




United States of America
                                                              Case Number: 1:20-cr-00238-JLT-SKO
 Plaintiff(s)

 V.
                                                              APPLICATION FOR PRO HAC
Evan Perkins                                                  VICE AND PROPOSED ORDER

 Defendant(s)

Pursuant to Local Rule 180(b)(2) of the United States District Court for the Eastern District of California,
Jon M. Sands                                      hereby applies for permission to appear and participate as
counsel in the above entitled action on behalf of the following party or parties:
Evan Perkins (19)

On          11/09/1985         (date), I was admitted to practice and presently in good standing in the
      United States District Court - Arizona       (court). A certificate of good standing from that court is
submitted in conjunction with this application. I have not been disbarred or formally censured by a court of
record or by a state bar association; and there are not disciplinary proceedings against me.


   I have / ✔ I have not concurrently or within the year preceding this application made a pro hac vice
application to this court. (If you have made a pro hac vice application to this court within the last year, list
the name and case number of each matter in which an application was made, the date of application and
whether granted or denied.)




         9/06/2023                                                               Jon M. Sands
Date:                                              Signature of Applicant: /s/



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Pro Hac Vice Attorney

Applicant's Name:                 Jon M. Sands

Law Firm Name:                     Federal Public Defender-Arizona

Address:                          850 West Adams Street
                                  Suite 201

City:                             Phoenix                        State:       AZ   Zip: 85007-2730
Phone Number w/Area Code: (602) 382-2700
City and State of Residence:
                                   jon_sands@fd.org
Primary E-mail Address:
Secondary E-mail Address:


I hereby designate the following member of the Bar of this Court who is registered for ECF with whom the
Court and opposing counsel may readily communicate regarding the conduct of the case and upon whom
electronic notice shall also be served via the Court’s ECF system:

Local Counsel's Name:             not applicable

Law Firm Name:
Address:


City:                                                            State:            Zip:
Phone Number w/Area Code:                                                 Bar #




                                                         ORDER
The Pro Hac Vice Application is APPROVED. The Pro Hac Vice Attorney is DIRECTED to request
filing access through PACER.




               Dated:
                                                            JUDGE, U.S. DISTRICT COURT



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